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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO
                         Judge Daniel D. Domenico

      Civil Action No. 1:20-cv-00742-DDD-KAS

      JAMES COREY GOODE; and
      GOODE ENTERPRISE SOLUTIONS, INC.,

              Plaintiffs and Counter Defendants,
      v.

      JIRKA RYSAVY;
      BRAD WARKINS; and
      KIERSTEN MEDVEDICH,

              Defendants, and

      GAIA, INC.,

              Defendant and Counter Claimant.


                  ORDER GRANTING UNOPPOSED MOTION
                 FOR ENTRY OF PARTIAL FINAL JUDGMENT


           Defendants Jirka Rysavy, Brad Warkins, and Kiersten Medvedich
      move for entry of final judgment with respect to the plaintiffs’ claims
      against them. Doc. 438. For the following reasons, the motion is granted.

                                    BACKGROUND

           Plaintiffs and Counter Defendants James Corey Goode and his com-
      pany Goode Enterprise Solutions, Inc. brought claims against numerous
      defendants, including Gaia, Inc. and Gaia employees Jirka Rysavy, Brad
      Warkins,     and   Kiersten    Medvedich     (the     “Gaia    Individuals”).
      See Doc. 111. The Gaia Individuals moved to dismiss the plaintiffs’
      claims against them, and I granted that motion. Doc. 390 at 36. The
      Gaia Individuals now move for entry of partial final judgment pursuant



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      to Federal Rule of Civil Procedure 54(b) as to the plaintiffs’ claims
      against them. Doc. 438.

                                APPLICABLE LAW

          In an action involving multiple claims and parties, a district court
      may direct entry of final judgment as to fewer than all parties “only if
      the court expressly determines that there is no just reason for delay.”
      Fed. R. Civ. P. 54(b).
             [A] certification under Rule 54(b) is only appropriate when
             a district court adheres strictly to the rule’s requirement
             that a court make two express determinations. First, the
             district court must determine that the order it is certifying
             is a final order. Second, the district court must determine
             that there is no just reason to delay review of the final or-
             der until it has conclusively ruled on all claims presented
             by the parties to the case.

      Okla. Turnpike Auth. v. Bruner, 259 F.3d 1236, 1242 (10th Cir. 2001)
      (citations omitted). To be considered “final,” a partial judgment under
      Rule 54(b) must dispose of claims that are “distinct and separable from
      the claims left unresolved.” Id. at 1242-43. In evaluating whether there
      is “no just reason for delay[ing]” review of a final order, “a district court
      must take into account judicial administrative interests as well as the
      equities involved.” Deffenbaugh Indus., Inc. v. Unified Gov’t of Wyan-
      dotte County, No. 22-3147, 2023 WL 4363439, at *11 (10th Cir.
      July 6, 2023) (quoting Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1,
      8 (1980)). The district court must “set forth its reasons, albeit briefly,
      supporting a determination of finality and no just reason for delay.”
      Stockman’s Water Co., LLC v. Vaca Partners, 425 F.3d 1263, 1266 (10th
      Cir. 2005).1



      1  But see Gross v. Pirtle, 116 F. App’x 189, 194-95 & n.9 (10th
      Cir. 2004) (where district court “made an express determination that
      there was no just reason for delay,” omission of specific findings

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                                   DISCUSSION

          The order dismissing all of the plaintiffs’ claims against the Gaia In-
      dividuals is final with respect to the plaintiffs’ claims against those de-
      fendants. See Doc. 390. The plaintiffs’ claims against the Gaia Individu-
      als are distinct and separable from the remaining claims between the
      plaintiffs and Gaia, Inc. that have yet to be resolved—the plaintiffs’
      claim for breach of contract against Gaia,2 and Gaia’s counterclaims
      against the plaintiffs. Entry of a partial final judgment as to the Gaia
      Individuals will encourage a speedy resolution as to the plaintiffs’ claims
      against them, allow them to promptly seek their costs, and avoid possi-
      ble prejudice to them that could result from a delay in final resolution.
      Though there is some factual overlap in the claims the plaintiffs as-
      serted against both the Gaia Individuals and Gaia itself, the plaintiffs
      also asserted a separate claim only against the Gaia Individuals, and
      the factual overlap that exists is not so significant that that all claims
      should be disposed of together or that the interests of judicial economy
      outweigh the Gaia Individuals’ interest in a prompt final resolution of
      the claims against them. For these reasons, I find that there is no just
      reason for delaying entry of final judgment as to the plaintiffs’ claims
      against the Gaia Individuals.

                                   CONCLUSION

          It is ORDERED that the Unopposed Motion for Entry of Judgment
      as to Jirka Rysavy, Kiersten Medvedich, and Brad Warkins Pursuant to




      regarding reasons for that determination did not render Rule 54(b) cer-
      tification invalid and was “not fatal” to appellate jurisdiction).
      2  As noted in the order on the Gaia Individuals’ motion to dismiss, the
      plaintiffs have not alleged the existence of a contract between Mr. Goode
      and any of the Gaia Individuals. Doc. 390 at 23-25, 28.


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      Federal Rules of Civil Procedure 54(b) and 58, Doc. 438, is GRANTED;
      and

         Pursuant to Federal Rule of Civil Procedure 54(b), the Clerk of Court
      is DIRECTED to enter partial final judgment in favor of Defendants
      Jirka Rysavy, Brad Warkins, and Kiersten Medvedich and against
      Plaintiffs James Corey Goode and Goode Enterprise Solutions, Inc. in
      accordance with Doc. 390, this Order, and the other orders filed during
      the pendency of this case.

      DATED: December 6, 2024                   BY THE COURT:



                                                Daniel D. Domenico
                                                United States District Judge




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